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 8                                    UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

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11    RENA WYMAN,                                       No. 2:18-CV-02621-TLN-EFB
12                       Plaintiff,
13            v.                                        ORDER GRANTING AMENDED
                                                        STIPULATION EXTENSION OF TIME TO
14    HIGH TIMES PRODUCTIONS, INC., and                 RESPOND TO COMPLAINT,
      CALIFORNIA EXPOSITION AND                         CONTINUANCE OF HEARING ON
15    STATE FAIR,                                       MOTION FOR PRELIMINARY
                                                        INJUNCTION, AND EXTENSION OF
16                       Defendant.                     BRIEFING SCHEDULE
17

18           Pursuant to the Stipulation Re: Extension of Time to Respond to Complaint,

19   Continuance of Hearing on Motion for Preliminary Injunction, and Extension of Brief

20   Schedule, (ECF No. 18), and for good cause shown:

21           IT IS HEREBY ORDERED that the deadline for Defendants High Times Productions,

22   Inc. and California Exposition and State Fair to file a response to the Complaint filed

23   September 24, 2018, shall be extended from October 15, 2018, to and including October 30,

24   2018.

25           IT IS FURTHER ORDERED that the Hearing on Plaintiff’s Motion for Preliminary

26   Injunction currently scheduled for October 18, 2018 at 2:00 p.m. is continued until December 6,

27   2018 at 2:00 p.m.

28   ///
                                                       1
     Case 2:18-cv-02621-TLN-EFB Document 19 Filed 10/17/18 Page 2 of 2

 1          IT IS FURTHER ORDERED that the briefing schedule on Plaintiff’s Motion for

 2   Preliminary Injunction is continued in accordance with the December 6, 2018 hearing date.

 3          IT IS SO ORDERED.

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 5   Dated: October 15, 2018

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                                      Troy L. Nunley
 8                                    United States District Judge
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